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5
     Attorney for Defendant
6    SANDRA HERMOSILLO
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8
                           IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,           )              2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )
14                                       )              UNOPPOSED MOTION TO
     v.                                  )              TERMINATE PRETRIAL
15                                       )              SUPERVISION; [PROPOSED] ORDER
                                         )
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20          Defendant Sandra Hermosillo, by and through her undersigned counsel, and at the request
21   of Pretrial Services, hereby moves that the court remove Ms. Hermosillo from Pretrial Services’
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     supervision. Ms. Hermosillo has been under Pretrial Services’ supervision for approximately
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     seven years without incident.
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                              Unopposed Motion to Terminate Pretrial Supervision;
                                             [Proposed] Order
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             Case 2:11-cr-00296-WBS Document 746 Filed 06/07/18 Page 2 of 2


1           Ms. Hermosillo’s pretrial services officer is aware of this request and has no objection.
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     Assistant United States Attorney Brian Fogerty was advised of this request and indicated the
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     government has no objection to the relief sought herein.
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5
     Dated: June 6, 2018                                  /s/ Erin J. Radekin
                                                          ERIN J. RADEKIN
6                                                         Attorney for Defendant
                                                          SANDRA HERMOSILLO
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8    IT IS SO ORDERED.

9    Dated: June 6, 2018.                                 _____________________________
                                                          HON. EDMUND F. BRENNAN
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                                                          United States Magistrate Judge
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                              Unopposed Motion to Terminate Pretrial Supervision;
                                             [Proposed] Order
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